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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK


CORY HAMMOCK,

                                  Plaintiff,       1:18-CV-05628-SJ-ST

        v.
                                                   CERTIFICATE OF DEFAULT
MOVING STATE TO STATE LLC, NATALIE
SCHMID, STATE TO STATE MOVING NY
INC, STATE TO STATE MOVING GROUP
LLC, MICKEY MILLER, JOE MILLER
and DOES 2-6

                              Defendants(s).



       I, Douglas C. Palmer, Clerk of Court of the United States District Court for the Eastern

District of New York, do hereby certify that the Defendants Natalie Schmid, State to State Moving

NY Inc, State to State Moving Group LLC, Mickey Miller, and Joe Miller have not filed an answer

or otherwise moved with respect to the complaint herein. The default of above-referenced

Defendants is hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.



Dated: Brooklyn, New York

       February 20, 2019



                                               DOUGLAS C. PALMER, Clerk of the Court



                                                   /s/Jalitza Poveda
                                               By: _________________

                                                     Deputy Clerk
